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                        IN THE UNITED STATES DISTRICT COURT
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                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                              ZOZI JAI-: !2 P 2^ 5U
                                 AUGUSTA DIVISION

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TORDERA A. EARNER,                           )                                  so.     SI. U G r..
                                             )
                Plaintiff,                   )
                                             )
       V.                                    )         CV 120-103
                                             )
WARDEN PEIILBIN and                          )
OFFICER CALLOWAY,                            )
                                             )
                Defendants.                  )


                                        ORDER



       After a careful, cle novo review of the file, the Court concurs with the Magistrate

Judge’s Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion

and DISMISSES from this case Defendant Philbin, along with all official capacity claims for

money damages against Defendants Philbin and Calloway. The case shall proceed against

Defendant Calloway as described in the Magistrate Judge’s December 11, 2020 Order. (See

doc. no. 13.)

       SO ORDERED this /              of January, 2021, at Augusta, Georgia.


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                                                  SALLfCHIEF JUDGE
                                         UNITEp^STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF GEORGIA
